Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 1 of 28 PageID #: 10168
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 1

                                      CURRICULUM VITAE
                                       Jason T. McConville




  Office Address
  Jason T. McConville, Ph.D.
  Department of Pharmaceutical Sciences
  University of New Mexico
  College of Pharmacy
  2705 Frontier NE
  Albuquerque, NM 87131
  Tel: +1 (505) 925-4446
  Fax: +1 (505) 925-4549


  I.      Executive Summary

          I received my Bachelors of Science in Applied Chemistry, graduating with honors, from
  Coventry University in 1994, and received my Ph.D. in Pharmaceutics from the University of
  Strathclyde in 2002. After receiving my Ph.D. in 2002, I worked as a Research Associate for the
  College of Pharmacy at the University of Texas at Austin and then joined the faculty in 2006. In
  2012, I joined the faculty at the University of New Mexico in Albuquerque, New Mexico, as part
  of the College of Pharmacy, as an Associate Professor of Pharmaceutics. Since August of 2012,
  I have also served as an Adjunct Professor in the Department of Pharmaceutical Technology at
  the University of Bonn in Bonn, Germany.

           The focus of my research is on the development of bioadhesive drug delivery systems
  and other therapies for treating diseases. In addition to authoring or co-authoring more than 50
  articles and book chapters, I attend and have been invited to speak at national and international
  pharmaceutical and scientific conferences.

          I have significant experience teaching biopharmaceutics and pharmacokinetics and have
  taught courses in applied pharmacokinetics, recent advances in pharmaceutics, advanced
  pharmaceutics processing, and preclinical and clinical drug development.

  II.     Personal

         Born July 13, 1971 in Coventry, England.
         Married.

         Citizen of The United Kingdom of Great Britain and Northern Ireland.
         Citizen of The United States of America.
                                                                                  DEFENDANTS’
  III.    Education                                                                 EXHIBIT

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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 2 of 28 PageID #: 10169
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 2


       Oct 91 - Jun 94         Coventry University, Coventry, United Kingdom
                               Bachelor of Science with Honors, Applied Chemistry

       Jul 99 - Sep 02         University of Strathclyde, Glasgow, United Kingdom.
                               Doctor of Philosophy, Pharmaceutics

                               Dissertation title "Pulsed-Release Drug Delivery and
                                                   Development of the Time-Delayed Capsule"

                               Supervisors:   H.N.E. Stevens, Ph.D.
                                              A.J. Florence, Ph.D.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 3 of 28 PageID #: 10170
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 3

  IV.    Positions Held

        September 1994 to July 1999 -Research Technician in Pharmaceutics,
        Centre for Drug Formulation Studies, University of Bath, Bath, United Kingdom.

        July 1999 to September 2002 - Ph.D. Student/Candidate,
        Department of Pharmacy, University of Strathclyde, Glasgow, United Kingdom.

        October, 2002 to August 2006 - Post Doctoral Fellow/Research Associate,
        College of Pharmacy, University of Texas at Austin, Austin, TX.

        August, 2006 to May 2012 - Assistant Professor of Pharmaceutics,
        College of Pharmacy, University of Texas at Austin, Austin, TX.

        July, 2012 to Present - Associate Professor of Pharmaceutics,
        College of Pharmacy, University of New Mexico, Albuquerque, NM.

        August, 2012 to Present - Adjunct Professor
        Department of Pharmaceutical Technology, University of Bonn, Bonn, Germany.


  No
         Professional Memberships

        American Association of Pharmaceutical Scientists                  1997 - present
        Sections: Formulation Design & Development
                  Physical Pharmacy & Biopharmaceutics
        Aerosol Society                                                    1997   - present
        Controlled Release Society                                         2002   - present
        Canadian Pharmaceutical Society                                    2004   - present
        American Association of Colleges of Pharmacy                       2006   - present
        American Association for Cancer Research                           2008   - present



  VI.    Professional Trainin~

        Short course: Particle Characterization using Low Angle Laser Light Scattering,
        Malvern Instruments, Limited, Malvern, Worcestershire, UK, June, 1996.

        The Royal Institute of Biology, Accredited Trainingfor Personnel Working under the
        Animals" (Scientific Procedures’) Act 1987 (Modules 1, 2, 3, and 4),
        Guy’s, King’s and St Thomas’ Medical School, London, UK, April, 1997.

        Short course: Advances in Controlled Release and Drug DeBvery Technologies.
        The Center for Microencapsulation and Drug Delivery, Texas A&M University,
        College Station, TX, October, 2004.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 4 of 28 PageID #: 10171
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 4

          Short course: Particle Engineering Technologies: Theory and Practice,
          American Association of Pharmaceutical Scientists, Baltimore, MD, November, 2004.

          Short course: Basic Pharmacokinetic Concepts for the Pharmaceutical Scientist,
          University of Minnesota, College of Pharmacy, Minnesota, MN, July, 2005.

          Workshop: Tablet Coating Technologies, ExcipientFest 2008, San Juan, Puerto Rico,
          April, 2008.

          The Royal Institute of Biology, Accredited Trainingfor Personnel Working under the
          Animals (Scientific Procedures) Act 1987 (Modules 1, 2, 3, 4, and 5), Vesalius,
          London, UK, June, 2009.

          Joint American Association of Pharmaceutical Scientists/Controlled Release Society
          Workshop: Developing Pharmaceutical Products for Controlled Pulmonary Defvery,
          Annual Meeting of the American Association of Pharmaceutical Scientists,
          Washington, DC, October, 2011.

          Workshop: Setting Release Specifications for in vitro Testing of ControlledRelease Dosage
          Forms, 39th International Symposium on Controlled Release of Bioactive Materials,
          Quebec City, Canada, July, 2012.

          Short Course: Macromolecule Drug Defvery: Challenges and Triumphs, AAPS National
          Biotechnology Conference, San Diego, CA, May, 2014.



  VII.         Current Research Interests

                  Nanotechnology for diabetes management
          2.      Inhalation therapies for infectious diseases

          3.      Lung cancer therapy via inhalation

          4.      Gastric retentive dosage delivery
          5.      Bioadhesive drug delivery systems


  VIII.        Honors and Awards

          1.    Annual Research Day Award for "Design and Evaluation of Pulsatile Drug Delivery
                Capsule", University of Strathclyde, Glasgow, May, 2001.

                Outstanding Poster Presentation Award: "Microwave Dielectric Analysis of Wet
                Granulations for Erodible HPMC Tablets", 138th British Pharmaceutical Conference,
                Glasgow, United Kingdom, September, 2001.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 5 of 28 PageID #: 10172
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 5


          Editor’s Choice Award: "Design and Evaluation of a Restraint-Free Small Animal
          Inhalation Dosing Chamber". LeadDiscovery, February, 2005.

          Co-Author, Innovative Aspects of Oral Drug Delivery and Absorption Graduate/Post-
          Doc Award: "Improved Dissolution Rate and Bioavailability through the Formation of
          a Highly Miscible Binary Mixture", 32nd International Symposium on Controlled
          Release of Bioactive Materials, Miami, FL, June, 2005.

           Co-Author, Best Resident and Fellow Poster Award: "Aerosolized Itraconazole (ITZ)
           as Prophylaxis against Invasive Pulmonary Aspergillosis (IPA) due to Aspergillus
          fumigatus", 27th American College of Clinical Pharmacy Annual Meeting, St. Louis,
           MS, October, 2006.

          Featured News Article: "University of Texas at Austin Pharmacy Researcher Works to
          Lower Carbon Footprint of Pharmaceuticals", www.BiobasedNews.com, August, 2008.

          Featured News Article in Carbon Market News: "Research Reveals Pharmaceuticals
          Can Cut Carbon Footprint with Organic Solvent", www.carbonoffsetsdaily.com,
          August, 2008.

          Co-Author, First Place Poster Award: "Manufacture and Characterization of Natural
          Polymer Based Films as Buccal Delivery Systems", ExcipientFest 2009, San Juan,
          Puerto Rico, April, 2009.

          Selected as a Member of the Society for Teaching Excellence, University of Texas at
          Austin, September, 2011.

       10. Corresponding author for the most downloaded article in European Journal of
           Pharmaceutics andBiopharmaceutics: "Manufacture and Characterization of
           Mucoadhesive Buccal Films", January-March 2011.

       11. Nominated for a University of Texas System Regents’ Outstanding Teaching Award,
          December 2011.

       12. Co-Author: Influence of particulate API in Eudragit® RS and RL films for buccal
          delivery, Poster Award, ExcipientFest Americas, San Juan, Puerto Rico, 2012.

       13. Co-Author, Poster Award: "Manufacture and Characterization of Natural Polymer
          Based Films as Buccal Delivery Systems", ExcipientFest Americas, Raleigh-Durham,
          NC, April, 2014.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 6 of 28 PageID #: 10173
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 6

  IX.    University Service, Committees Served, and other Advisory Roles

           Chemical, Radiological, & Biohazard Safety Committee, University of Texas at Austin,
           College of Pharmacy, 2006-2008.

           Pharmacokinetics Task Force, University of Texas at Austin, College of Pharmacy,
           2006-2008.

        3. Curriculum Committee, University of Texas at Austin, College of Pharmacy,
           2009-2010.

        4. Program Assessment Team, University of Texas at Austin, College of Pharmacy,
           2009-2010.

           Financial Aid Committee (Professional Student), University of Texas at Austin,
           College of Pharmacy, 2006-2012.

           Admissions Committee, University of Texas at Austin, College of Pharmacy,
           2008-2012.

        7. Cultural Proficiency Committee, University of Texas at Austin, College of Pharmacy,
           2008- 2012.

           Pharmaceutics Division Graduate Advisor, University of Texas at Austin, College of
           Pharmacy, 2008-2012.

           Prosolv® Advisory Board, JRS Pharma, Patterson, NY, 2009-2012.

           Promotion and Tenure Committee, Department of Pharmaceutical Sciences, University
           of New Mexico, 2012-Present.

        11. Web Re-Design Committee, College of Pharmacy, University of New Mexico, 2012-
            2013.

        12. Staff Excellence Award Committee, College of Pharmacy, University of New Mexico,
            2012-2013.

        13. Faculty Development Committee, College of Pharmacy, University of New Mexico,
           2012-Present. (2014 -Vice Chair; 2015 - Chair).

        14. Institutional Animal Care and Use Committee (IACUC), Health Science Center,
           University of New Mexico, 2013-Present.

        15. American Association for the Advancement of Science, Research Competitiveness
           Program Review Committee (Ad-Hoc), New York Ave NW, Washington, DC, 2014.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 7 of 28 PageID #: 10174
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 7

       16. Accreditation Committee, College of Pharmacy, University of New Mexico, 2014-
           Present.

       17. Graduate Affairs Committee, College of Pharmacy, University of New Mexico, 2015-
          present.

       18. Student Pharmacist Research Interest Group (SPRIG), College of Pharmacy, University
          of New Mexico, 2015 - Present.



  No
         Teachin~ Experience

       1. PHR352C (Lecture), Biopharmaceutics and Pharmacokinetics, Course Instructor,
          University of Texas at Austin, College of Pharmacy, 2007 - 2009.

       2. PHR152P (Laboratory), Biopharmaceutics and Pharmacokinetics, Course Instructor,
          University of Texas at Austin, College of Pharmacy, 2007 - 2009.

       3. PHR390S, Applied Pharmacokinetics, Course Coordinator, University of Texas at
          Austin, College of Pharmacy, 2007-2009.

       4. PHR382R, Recent Advances in Pharmaceutics, Course Instructor, University of Texas
          at Austin, College of Pharmacy, 2007.

       5. PHR380Q, Advanced Pharmaceutical Processing, Course Instructor, University of
          Texas at Austin, College of Pharmacy, 2008.

       6. PHR380M, Drug Development, Course Instructor, University of Texas at Austin,
          College of Pharmacy, 2008.

       7. PHR252C, Biopharmaceutics, Course Instructor, University of Texas at Austin, College
          of Pharmacy, 2009-2011.

       8. PHR386Q, Precinical and Clinical Drug Development, Course Instructor, University of
          Texas at Austin, College of Pharmacy, 2010-2012.

       9. PHR386Q, Precinical and Clinical Drug Development, Course Instructor, University of
          Texas at Austin, College of Pharmacy, 2010-2012.

       10. PHRM593, Pharmaceutical Sciences and Toxicology Seminar, Instructor of the Record
           (IOR), University of New Mexico, College of Pharmacy, 2014.

       11. PHRM726, Biopharmaceutics and Pharmacokinetics, Course Instructor/Instructor of
           the Record (IOR), University of New Mexico, College of Pharmacy, 2012-present.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 8 of 28 PageID #: 10175
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 8

        12. PHRM702, Pharmaceutics II, Course Instructor, University of New Mexico, College of
            Pharmacy, 2013-present.

        13. PHRM598, Pharmaceutics & Drug Delivery Course Instructor/Instructor of the Record
            (IOR), University of New Mexico, College of Pharmacy, 2014-present.



  XI.    Students Mentored

  Graduate Students"

           Yoen-Ju Son, Ph.D., Pharmaceutics Graduate Program, 2006-2010.
           Post-Doctoralfellow under supervision ofDr. Michael Hindle, Virginia
           Commonwealth University, 2011-2013.
           Sumalee Thitinan, Ph.D., Pharmaceutics Graduate Program, University of Texas at
           Austin 2007-2011 .Funded by a Thailand Government Pharmaceutical Organization
           Scholarship,
           Employer: Thailand GovernmentPharmaceutical Organization, 2011-present.
           Thiago Carvalho Ph.D., Pharmaceutics Graduate Program, University of Texas at
           Austin, 2007-2011.
           Employer: Bristol-Myers Squibb, New Brunswick, New Jersey, 2011-present.
           Matt Herpin, Graduate Student, Pharmaceutics Graduate Program, University of Texas
           at Austin, 2011-2012.
           Ping Du, Graduate Student, Pharmaceutics Graduate Program, University of Texas at
           Austin, 2011-2012.
           Ashkan Yazdi. Pharm.D./Ph.D Student Rotation, Graduate Student, Pharmaceutics
           Graduate Program, University of Texas at Austin, 2011-2012.
           Shih-Fan Jang, Ph.D., Pharmaceutics Graduate Program, University of Texas at Austin
           2007-2013.
           Javier Morales, Ph.D., Pharmaceutics Graduate Program, University of Texas at Austin
           2008-2012. Funded by a Fulbright Organization Scholarship.
           Assistant Professor, Department of Pharmaceutical Sciences and Technology,
           University of Chile, 2013-present.
           Simone Carvalho, Ph.D., Pharmaceutics Graduate Program, University of Texas at
           Austin 2009-2013.
        10. Audrey Smith, Biomedical Sciences Graduate Program (BSGP) Student Rotation,
           University of New Mexico, Spring, 2013.
        11. Dominique Perez, Biomedical Sciences Graduate Program (B SGP) Student Rotation,
           University of New Mexico, Spring, 2013.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 9 of 28 PageID #: 10176
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 9

       12. Joseph Castillo, Biomedical Sciences Graduate Program (B SGP) Student Rotation,
            University of New Mexico, Fall, 2013.
       13. Kai Berkenfeld, Graduate Student, Department of Pharmaceutical Technology
            Graduate Program, University of Bonn, 2012-present.
       14. Anh-Le Dung, Nanoscience and Microsystems Engineering Graduate Program,
            University of New Mexico 2013-present.
       15. Kristina Sch6nhoff, Graduate Student, Department of Pharmaceutical Technology
            Graduate Program, University of Bonn, 2014-present.


  Pharm.D Students

       1.   Ashkan Yazdi. UT PharmD./PhD Student Rotation, 2008. (Honors Proj ect)
       2. Michelle Horng, UT PharmD. Student, 2008-2011.
       3. Raj esh Peddaiahgari, UT Pharm.D. Student, 2009.
       4. Yi Guo, UT Pharm.D. Student, 2009.
       5.   Tian Tian, UT PharmD./PhD Student Rotation, 2010/2011. (Honors Project)
       6. Ashley Jewitt, UT B.S. Student, 2011-2012.
       7. Nicole Wesley, UT PharmD. Student, Fall 2011.
       8. Lessel Lamkin, UNM Pharm.D. Student, Spring 2012-present.
       9.   Colin Williams, UNM Pharm.D. Student, Spring 2012.
       10. Michael Bernauer, UNM Pharm.D. Student, Spring 2013-present
       11. Maria Gabriela Cabanilla, UNM Pharm.D. Student, Fall 2014-present
       12. Christina Clise, UNM Pharm.D. Student, Fall 2014-present


  Visiting Scholars

       1.   Simone Dietz, Pharmaceutics Intern from University of Bonn, Germany.
            Fall/Spring 2010/2011.
       2.   Christine Joseph, Pharmaceutics Intern from University of Bonn, Germany.
            Spring/Summer 2011.

       3.   Gero Joks, Pharmaceutics Intern from University of Bonn, Germany.
            Summer 2011.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 10 of 28 PageID #: 10177
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 10

  Dissertation Committees

         1. Piynauch Wonganan, Ph.D, UT Pharmaceutics Graduate Program, 2010.
         2. Nicole Nelson, Ph.D, UT Pharmaceutics Graduate Program, 2011.
         3. Martin Donovan, Ph.D, UT Pharmaceutics Graduate Program, 2011.
         4.    Shayna McGill, Ph.D, UT Pharmaceutics Graduate Program, 2011.
         5. Nicole Nelson, Ph.D., UT Pharmaceutics Graduate Program, 2011.
         6. Helen Lirolla, Ph.D., UT Pharmaceutics Graduate Program, 2012.
         7. Prinda Wanakule, Ph.D., UT BME Graduate Program, 2012.
         8. Letty Rodriguez, Ph.D., UT Pharmaceutics Graduate Program, 2012.
         9. Javier Morales, Ph.D., UT Pharmaceutics Graduate Program, 2012.
         10. Eileen Dawson, Ph.D., UT BME Graduate Program, 2013.
         11. Amit Kumar, Ph.D., UT Pharmaceutics Graduate Program, 2013.
         12. Simone Carvalho, Ph.D., UT Pharmaceutics Graduate Program, 2013.
         13. Amber McBride, Ph.D., UNM NSMS Engineering Graduate Program, 2014.


  XII.        Editorial Responsibilities

         Current

         1.      Drug Development and Industrial Pharmacy                Associate Editor:
                                                                         Special and Themed Issues

         2.      Inhalation                                              Editorial Board

         3.      European Journal ofPharmaceutical Sciences              Reviewer

         4.      European Journal ofPharmaceutics and Biopharmaceutics   Reviewer

         5.      International Journal ofPharmaceutics                   Reviewer

         6.      Journal of Controlled Release                           Reviewer

         7.      Journal ofPharmaceutical Sciences                       Reviewer

         8.      Pharmaceutical Research                                 Reviewer



         Previous

              1. Ashley PubBcations Ltd., London, UK.                    Book Reviewer
              2. Drug DeBvery                                            Reviewer
              3. Journal of Pharmacy and Pharmaceutical Sciences         Reviewer




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 11 of 28 PageID #: 10178
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 11

          4. Informa Healthcare USA, New York, NY                          Book Editor/Reviewer
          5. Pharmaceutical Press, London, UK.                             Book Reviewer
          6. Respiratory Drug Defvery                                      Conference Proceedings
                                                                           Reviewer
          7.   Journal ofPharmacy and Nutrition Sciences                   Editorial Board

  XIII.   Publications

               J.T. McConville, N. Patel, N. Ditchburn, P. Woodcock, M.J. Tobyn, J.N. Staniforth,
               Use of a Novel Modified TSI for the Evaluation of Controlled-Release Aerosol
               Formulations, Drug Development and Industrial Pharmacy, 26(2000) 1191-1198.

               J.T. McConville, A.C. Ross, A.R. Chambers, G. Smith, A.J. Florence, H.N.E.
               Stevens, The Effect of Wet Granulation on the Erosion Behavior of an HPMC-
               Lactose Tablet, Used as a Rate-Controlling Component in a Pulsatile Drug Delivery
               Capsule Formulation, European Journal of Pharmaceutics and Biopharmaceutics,
               57(2004) 541-549.

               J.T. McConville, A.C. Ross, A.J. Florence, H.N.E. Stevens, Erosion Characteristics
               of an Erodible Tablet Incorporated in a Time-Delayed Capsule Device, Drug
               Development and Industrial Pharmacy, 31 (2005) 79-89.

               J.T. McConville, Recent Trends in Oral Drug Delivery, The Drug Defivery
               Companies Report, PharmaVentures, Oxford, UK, Autumn/Winter (2005) 24-27.
               Invited Article.

               J.T. McConville, T.C. Carvalho, A.N. Iberg, R.L. Talbert, D.S. Burgess, J.I. Peters,
               K.P. Johnston, R.O. Williams III, Design and Evaluation of a Restraint-Free Small
               Animal Inhalation Dosing Chamber, Drug Development and lndustrial Pharmacy,
               31(2005) 35-42.

               B.J. Hoeben, D.S. Burgess, J.T. McConville, L.K. Najvar, R.L. Talbert, J.I. Peters,
               N.P. Wiederhold, B.L. Frei, J.R. Graybill, R. Bocanegra, K.A. Overhoff, P. Sinswat,
               K.P. Johnston and R.O. Williams III, In Vivo Efficacy of Aerosolized Nanostructured
               Itraconazole Formulations for the Prevention of Invasive Pulmonary Aspergillosis,
               An#microbial Agents and Chemotherapy, 50(2006) 1552-1554.

               J.M. Vaughn, J.T. McConville, X. Gao, M.T. Crisp, K.P. Johnston, R.O. Williams III,
               Supersaturation Produces High Bioavailability of Amorphous Danazol Particles
               Formed by Evaporative Precipitation into Aqueous Solution and Spray Freezing into
               Liquid Technologies, Drug Development and lndustrial Pharmacy,
               32(2006) 559-567.

               J.T. McConville, K.A. Overhoff, P. Sinswat, J.M. Vaughn, B.L. Frei, D.S. Burgess,
               R.L. Talbert, J.I. Peters, K.P. Johnston, R.O. Williams III, Targeted High Lung




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 12 of 28 PageID #: 10179
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 12

             Concentrations of Itraconazole Using Nebulized Dispersions in a Murine Model,
             Pharmaceutical Research, 23 (2006) 901-911.

             J.M. Vaughn, J.T. McConville, D.S. Burgess, J.I. Peters, K.P. Johnston, R.L. Talbert,
             R.O. Williams III, Single Dose and Multiple Dose Studies of Aerosolized
             Itraconazole Nanoparticles, European Journal of Pharmaceutics and
             Biopkarmaceutics, 63 (2006) 95-102.

       10.   T. Purvis, J.M. Vaughn, T.L. Rogers, X. Chen, K.A. Overhoff, P. Sinswat, J. Hu, J.T.
             McConville, K.P. Johnston, R.O. Williams III, Cryogenic liquids, Nanoparticles, and
             Microencapsulation, International Journal of Pharmaceutics, 324(2006) 43-50.

       11    J.T. McConville, N.P. Wiederhold, Antifungal Prophylaxis to the Lung Using
             Itraconazole, Inhalation, 1(2007) 6-9. Invited Article.

       12.   J.T. McConville, Targeted Lung Delivery of Antifungals: Preclinical Studies Using
             Itraconazole Nanoparticles, RDD Europe 2007, 1 (2007) 43-50. Invited Article.

       13.   D.A. Miller, J.T. McConville, W. Yang, R.O. Williams III, J.W. McGinity, Hot-Melt
             Extrusion for Enhanced Delivery of Drug Particles, Journal of Pharmaceutical
             Sciences, 96(2007) 361-76. Invited Article.

       14.   J.M. Vaughn, N.P. Wiederhold, Jason T. McConville, J.J. Coalson, R.L. Talbert, D.S.
             Burgess, K.P. Johnston, R.O. Williams III, Murine Airway Histology and Alveolar
             Macrophage Uptake of Inhaled Amorphous Itraconazole, International Journal of
             Pharmaceutics, 338(2007) 219-224.

       15.   C.A. Alvarez, N.P. Wiederhold, J.T. McConville, J.I. Peters, L.K. Najvar, J.R.
             Graybill, J.J. Coalson, R.L. Talbert, D.S. Burgess, R. Bocanegra, K.P. Johnston, R.O.
             Williams III, Aerosolized Nanostructured Itraconazole as Prophylaxis Against
             Invasive Pulmonary Aspergillosis, Journal of Infection, 55(2007) 68-74.

       16.   M. T. Carvajal, D. Cipolla, M. Copley, J.T. McConville, Highlights from RDD 2008:
             Inhalation Reports on Some of the Most Interesting Research Presented at the Most
             Recent Respiratory Drug Delivery Meeting, Inhalation, 2:3(2008) 18-20.
             Invited Article.

       17.   K.A. Overhoff, J.T. McConville, W. Yang, K.P. Johnston, J.I. Peters, R.O. Williams,
             Effect of Stabilizer on the Maximum Degree and Extent of Supersaturation and Oral
             Absorption of Tacrolimus Made by Ultra-Rapid Freezing, Pharmaceutical Research,
             25(2008) 167-175.

       18.   W. Yang, J. Tam, D.A. Miller, J. Zhou, J.T. McConville, K.P. Johnston,
             R.O.Williams III, High Bioavailability from Nebulized Itraconazole Nanoparticle
             Dispersions with Biocompatible Stabilizers, Special Edition: Pharmaceutical




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 13 of 28 PageID #: 10180
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 13

             Nanotechnology, International Journal ofPharmaceutics, 361 (2008) 177-188.
             Invited Article.

       19.   J. Tam, J.T. McConville, R.O. Williams III, K.P. Johnston, Amorphous
             Cyclosporin-A Nanodispersions for Enhanced Pulmonary Deposition and
             Dissolution, Journal of Pharmaceutical Sciences, 97(2008) 4915-4933.

       20.   P. Sinswat, K.A. Overhoff, J.T. McConville, K.P. Johnston, Robert O. Williams III,
             Nebulization of Nanoparticulate Amorphous or Crystalline Tacrolimus - Single-Dose
             Pharmacokinetics Study in Mice, European Journal of Pharmaceutics and
             Biopharmaceutics, 69(2008) 1057-1066.

       21    J.T. McConville, F.J. McInnes, A.C. Ross, Preface for Innovative Inhalation
             Technologies: Special Edition, Drug Development and Industrial Pharmacy,
             34(2008) 1-2. Invited Article

       22.   Y-J. Son, J.T. McConville, Advancements in Dry Powder Delivery to the Lung,
             Special Edition: Innovative Inhalation Technologies, Drug Development and
             Industrial Pharmacy, 34(2008) 948-959. Invited Article.

       23.   A.B. Watts, J.T. McConville, R.O. Williams III, Current Therapies and Technological
             Advances in Aqueous Aerosol Drug Delivery, Special Edition: Innovative Inhalation
             Technologies, Drug Development and lndustrial Pharmacy, 34(2008) 913-922.
             Invited Article.

       24.   S. Thitinan, J.T. McConville, Interferon Alpha Delivery Systems for the Treatment of
             Hepatiti s C, International Journal ofPharmaceutics. 369(2009) 121 - 135.
             Invited Article.

       25.   J.T. McConville, S.A. Kucera, T.C. Carvalho, E.M. Hurley, Ethyl Lactate as a
             Pharmaceutical-Grade Excipient and Development of a Sensitive Peroxide Assay,
             Pharmaceutical Technology, 33 (2009) 74-84.
             Invited Article.

       26.   Y-J Son, J.T. McConville, Dissolution Testing for Inhalation Formulations,
             Inhalation, 2:6(2009) 8-11. Invited Article.

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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 14 of 28 PageID #: 10181
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 14

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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 15 of 28 PageID #: 10182
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 15

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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 16 of 28 PageID #: 10183
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 16

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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 17 of 28 PageID #: 10184
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 17

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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 18 of 28 PageID #: 10185
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 18

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                                                                                           DTX0866-0018
Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 19 of 28 PageID #: 10186
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 19

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       48.   A Novel In Vitro Dissolution Testing Method for Inhalation Formulations, Annual
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       53.   Aerosolized Voriconazole (VRC) as Prophylaxis against Invasive Pulmonary
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       54.   Preliminary Studies for Rapidly Disintegrating Mini-Tablets for Enteric Coated Oral
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             Atlanta, GA, November, 2008.
       55.   Gender and Race-Based Disparities in the Proportion of Hepatitis C Patients that are
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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 20 of 28 PageID #: 10187
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 20

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             Atlanta, GA, November, 2008.
       58.   Improvements of an In Vitro Dissolution Test Method For Dry Powder Inhalation
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             Scientists, Atlanta, GA, November, 2008.
       59.   Aerosol Characterization and Single-Dose Pharmacokinetic Analysis of Nebulized
             Voriconazole Solution, Annual Meeting of the American Association of
             Pharmaceutical Scientists, Atlanta, GA, November, 2008.
       60.   Investigation of Nebulized Dose and Inhaled Dose of Itraconazole Dispersions in a
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       61    Characterization of Saccharide Derived Fast Disintegrating Tablets,
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       62.   Manufacture and Characterization of Natural Polymer Based Films as Buccal
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       63.   Development of Fast Disintegrating Tablets using Starch and Starch Derivatives,
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       64.   An Investigation of Natural Based Films Suitable for Buccal Delivery, 36th
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       65.   Effect of Oral Candidiasis Co-Infection in HIV/AIDS and Hepatitis C Patients
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       66.   Effect of Cooling Rate on the Particle Size of API31510 Emulsions, Annual Meeting
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       67.   Investigation of nebulized itraconazole dispersions: in-vitro-in-vivo comparison of
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             American Association of Pharmaceutical Scientists, Los Angeles, CA,
             November, 2009.
       68.   Nanostructured Tacrolimus Produced by Ultra-Rapid Freezing for Dry Powder
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             Scientists, Los Angeles, CA, November, 2009.
       69.   Development and Evaluation of a Manufacturing Process for Xanthan Gum-Based
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             Los Angeles, CA, November, 2009.
       70.   Optimization of an In Vitro Dissolution Test Method for Inhalation Formulations,
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             Los Angeles, CA, November, 2009.
       71    Low Density Chitosan-Based Particles Prepared by Spray Drying as a Pulmonary
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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 21 of 28 PageID #: 10188
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 21

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             November, 2009.
       73.   Development of Submicron Aqueous Formulations of API31510, Annual Meeting of
             the American Association of Pharmaceutical Scientists, Los Angeles, CA,
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       74.   Manufacture and characterization of Fast Disintegrating Tablets, Annual Meeting of
             the American Association of Pharmaceutical Scientists, Los Angeles, CA,
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       75.   Optimization of an In Vitro Dissolution Test Method for Inhalation Formulations,
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             December 2010.
       76.   The Use of Silicified Microcrystalline Cellulose and Fructose in the Development of
             Orally Disintegrating Tablets, 37th International Symposium on Controlled Release
             of Bioactive Materials, Portland, OR, July, 2010.
             Rapidly Disintegrating Tablets for Targeted Oral Delivery, 37th International
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             Assessment of Student Performance in Biopharmaceutics using the TurningPoint
             Audience Response System, Proceedings of AACP Annual Meeting and Seminars,
             Seattle, WA, 2010.
       79.   Development and Characterization of Films for Buccal Delivery, Annual Meeting of
             the American Association of Pharmaceutical Scientists, New Orleans, LA,
             November, 2010.
       80.   Time Dependent Aerosolization Stability of Vibrating-Mesh Nebulizers with
             Submicron Lecithin Aqueous Dispersions of API31510, Annual Meeting of the
             American Association of Pharmaceutical Scientists, New Orleans, LA,
             November, 2010.
       81    Nebulization Performance of Submicron Aqueous Dispersions of API 31510 prepared
             using High Pressure Homogenization, Annual Meeting of the American Association
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       82.   Measurement of Surface Tension of Liquids using Texture Analyzer, Annual Meeting
             of the American Association of Pharmaceutical Scientists, New Orleans, LA,
             November, 2010.
       83.   Manufacture of BSA Microcrystals by a Co-Precipitation Method, Annual Meeting of
             the American Association of Pharmaceutical Scientists, New Orleans, LA,
             November, 2010.
       84.   Stabilized Buoyancy and Optimal Loading Capacity of a Floating Gastric Device,
             Annual Meeting of the American Association of Pharmaceutical Scientists, New
             Orleans, LA, November, 2010.
       85.   Size Exclusion and Gastric Emptying in Rodent Models, Annual Meeting of the
             American Association of Pharmaceutical Scientists, New Orleans, LA, November,
             2010.
       86.   Fighting Dysphagia with Orally Disintegrating Tablets, 8th International Conference
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             March 2011.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 22 of 28 PageID #: 10189
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 22

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            The Influence of Physicochemical Properties of Aqueous Dispersions on Active
            Vibrating-Mesh Nebulization, 18th Congress of International Society for Aerosols in
            Medicine, Rotterdam, Netherlands, June, 2011.
            Orally Disintegrating Dietary Supplement Tablets, Institute of Food Technology
            Annual Meeting, New Orleans, LA, June, 2011.
            A Gastric Retention Modeling Study of Floating Devices, 38th International
            Symposium on Controlled Release of Bioactive Materials, National Harbor, MD,
            July, 2011.
       91   Impact of Drying Conditions on the Physicochemical and Aerodynamic Properties of
            Rifampicin Dihydrate (RFDH) Microcrystals, Annual Meeting of the American
            Association of Pharmaceutical Scientists, Washington DC, October, 2011.
       92. BSA Microcrystals by a Co-Precipitation Method: The Effect of Solvent Type and
            Presence of Surfactant, Annual Meeting of the American Association of
            Pharmaceutical Scientists, Washington DC, October, 2011.
            The Influence of Particles on Physical Properties of Films, Annual Meeting of the
            American Association of Pharmaceutical Scientists, Washington DC, October, 2011.
            In Vitro Evaluation of Adhesion Properties of Mucoadhesive Pellets Using Artificial
            Agar/Mucin Gel, Annual Meeting of the American Association of Pharmaceutical
            Scientists, Washington DC, October, 2011.
       95. The Influence of Physicochemical Properties of Aqueous Dispersions on Active
            Vibrating-Mesh Nebulization, Annual Meeting of the American Association of
            Pharmaceutical Scientists, Washington DC, October, 2011.
            Dissolution Rate Comparison of Micronized and Spray-Dried Budesonide,
            Respiratory Drug Delivery 2012, Phoenix, AZ, May, 2012.
            A Novel Method for the Manufacture of Protein-Coated Nanoparticles,
            39th International Symposium on Controlled Release of Bioactive Materials,
            Quebec City, Canada, July, 2012.
            Dissolvable Strip for Treatment of Oral Thermal Burns, Annual Meeting of the
            American Association of Pharmaceutical Scientists, Chicago, IL, October, 2012.
            The Effect of pH on Protein-coated Submicron Particles Obtained by Antisolvent
            Co-precipitation, Annual Meeting of the American Association of Pharmaceutical
            Scientists, Chicago, IL, October, 2012.
       100. Manufacture and Characterization of Films for Buccal Delivery of Protein-coated
            Submicron Particles, Annual Meeting of the American Association of Pharmaceutical
            Scientists, Chicago, IL, October, 2012.
       101. Influence of Particulate API in Eudragit® RS and RL Films for Buccal Delivery,
            Annual Meeting of the American Association of Pharmaceutical Scientists,
            Chicago, IL, October, 2012.
       102. Controlled Release Properties of Cellulose Processed by Rapid Freezing Technology,
            Annual Meeting of the American Association of Pharmaceutical Scientists,
            Chicago, IL, October, 2012.




                                                                                          DTX0866-0022
Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 23 of 28 PageID #: 10190
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 23

       103. Prediction of In Vitro Aerosolization Profiles Based on Rheological Behaviors for
            Aqueous Dispersions of API 31510, Annual Meeting of the American Association of
            Pharmaceutical Scientists, Chicago, IL, October, 2012.
       104. Acoustic Levitation to Simulate Rifampicin Spray Drying Kinetics, Annual Meeting
            of the American Association of Pharmaceutical Scientists, Chicago, IL, October,
            2012.
       105. Multiple Dose Platforms for Once-Daily Administration of Ciprofloxacin or
            Verapamil, 3rd International Conference and Exhibition on Pharmaceutics & Novel
            Drug Delivery Systems, Northbrook, IL, April, 2013
       106. Controlled Release Mucoadhesive Films Containing Nanoparticles of Lysozyme,
            40th International Symposium on Controlled Release of Bioactive Materials,
            Honolulu, HI, July, 2013.
       107. Determination of Thermodynamic Characteristics of A Rifampicin Solvate
            Recrystallized from Ethanol, 31 st Annual Meeting of the Mountain West Society of
            the Society of Toxicology, Albuquerque, NM, September, 2013.
       108. Bioadhesive Films Containing Nanoparticles of Lysozyme, Annual Meeting of the
            American Association of Pharmaceutical Scientists, San Antonio, TX, November,
            2013.
       109. Development of Films of Insulin-coated Nanoparticles for Use in Buccal Delivery,
            Annual Meeting of the American Association of Pharmaceutical Scientists, San
            Antonio, TX, November, 2013.
       110. Gastroretentive Capsules for Once-daily Administration of Ciprofloxacin or
            Verapamil, Annual Meeting of the American Association of Pharmaceutical
            Scientists, San Antonio, TX, November, 2013.
       111. Preformulation Development Studies of Respirable Rifampicin Particles through
            Crystal Modification, Annual Meeting of the American Association of
            Pharmaceutical Scientists, San Antonio, TX, November, 2013.
       112. Inhaled Therapeutics for Lung Cancer, Drug Delivery to the Lungs Conference
            (DDL24), Edinburgh, UK, December, 2013.
       113. Antisolvent Co-precipitation Synthesis of D,L-Valine/Lysozyme, Annual Meeting of
            the American Association of Pharmaceutical Scientists, San Diego, CA, November,
            2014.
       114. Core Forming Antisolvent Co-precipitation of Protein Loaded Crystals, Annual
            Meeting of the American Association of Pharmaceutical Scientists, San Diego, CA,
            November, 2014.


         Book Contributions

            J.T. McConville, Preface for Advanced Drug Formulation Design to Optimize
            Therapeutic Outcomes, (Eds.) Robert O. Williams III, David R. Taft, J.T.
            McConville, Informa Healthcare, New York, NY, September, 2007. Invited Article.

            J.T. McConville, N.P. Wiederhold, Invasive Pulmonary Aspergillosis: Therapeutic
            and Prophylactic Strategies, In Advanced Drug Formulation Design to Optimize




                                                                                         DTX0866-0023
Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 24 of 28 PageID #: 10191
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 24

            Therapeutic Outcomes, (Eds.) Robert O. Williams III, David R. Taft, J.T.
            McConville, Informa Healthcare, New York, NY, September 2007. Invited Article.

            S. Thitinan, J.T. McConville,, Pulsatile Drug Delivery, In Controlled Release: Oral
            Dosage Forms, Eds. Patrick Crowley, Clive Wilson, Controlled Release Society
            Books, St. Paul, MN, 2011.

            Y-Ju Son, J.T. McConville, In Vitro Performance Testing for Pulmonary Drug
            Delivery, In Controlled Release Science and Technology: Pulmonary Delivery, (Eds.)
            Hugh Smyth, Anthony Hickey, Controlled Release Society Books, St. Paul, MN,
            2011.

            J.O. Morales, A.B. Watts, J.T. McConville, Mechanical Particle Size Reduction
            Techniques, In Formulating Poorly Water Soluble Drugs, (Eds.) Dave Miller, Alan
            Watts, Robert O. Williams III, Springer Publishing Company, New York, NY, 2011.

            J.O. Morales, J.T. McConville, Polymer Drug Delivery Systems for Sustained
            Mucoadhesion in the Respiratory Tract. In Polymers for Pulmonary Drug Delivery,
            (Eds.) H.D.C. Smyth, I. Saleem, J.T. McConville, iSmithers, Shrewsbury, UK, 2013.

            P. Du, J.T. McConville, Regulatory Aspects of Pulmonary Delivery of Polymers. In
            Polymers for Pulmonary Drug Delivery, (Eds.) H.D.C. Smyth, I. Saleem, J.T.
            McConville, iSmithers, Shrewsbury, UK, 2013.

            J.T. McConville, Polymer Drug Delivery Systems Targeting the Alveolar
            Macrophages. In Polymers for Pulmonary Drug Delivery, (Eds.) H.D.C. Smyth, I.
            Saleem, J.T. McConville, iSmithers, Shrewsbury, UK, 2013.



  XVI.   Invited Talks, Sessions, and Workshop Presentations

            Microwave Dielectric Analysis of Wet Granulations for Erodible HPMC Tablets,
            Proceedings of the 138th British Pharmaceutical Conference, Glasgow, United
            Kingdom, September, 2001.

            Chronopharmaceutical Drug Defivery, University of Texas at Austin, Austin, TX,
            October, 2001.

            Particle Engineering Technologies: Theory and Practice, Annual Meeting of the
            American Association of Pharmaceutical Scientists, Baltimore, MD, November,
            2004. Workshop Presenter.

            Capsule Filling and Topical Formulations, Science Camp Presentation, Priscilla
            Pond Flawn Child and Family Laboratory, University of Texas at Austin, Austin, TX,
            June, 2005.




                                                                                           DTX0866-0024
Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 25 of 28 PageID #: 10192
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 25


             Pre-CBnical Development Studies with Poorly Water-Soluble Drugs, Universidade
             Federal de Minas Gerais, Belo Horizonte, Brasil, June, 2005.

             Targeted High Lung Concentrations ofItraconazole using Nebulized Dispersions in a
             Murine Model, 1st Joint Symposium on the Future Prospects of Pharmaceutical
             Sciences, Hoshi University, Tokyo, Japan, October, 2005.

             Pre-CBnical Development Studies with Poorly Water-Soluble Drugs, University of
             Louisiana at Monroe, Monroe, LA, January, 2006.

             The Effective DeBvery of ltraconazole for the Treatment ofAcute Fungal Infections,
             University of Mississippi, Oxford, MS, January, 2006.

             Targeted High Lung Concentrations ofItraconazole using Nebulized Dispersions in a
             Murine Model, University of Texas at Austin, Austin, TX, February, 2006.

       10.   Enhanced Therapeutic Outcomes using Targeted Itraconazole DeBvery in a Murine
             Model, Long Island University, Brooklyn, NY, February, 2006.

       11.   Targeted Treatment of Infectious Diseases to the Lung, Virginia Commonwealth
             University, February, 2007.

       12.   Targeted Lung DeBvery ofAntifungals: PrecBnical Studies using ltraconazole
             Nanoparticles, Respiratory Drug Delivery Europe 2007, Paris, France, April, 2007.

       13.   PrecBnical Studies with Poorly Water Soluble Drugs, University of Strathclyde,
             Glasgow, UK, July, 2007.

       14.   Antifungal Prophylaxis to Treat Pulmonary Aspergillosis, GEA-NUS 10th
             Anniversary Celebration & Pharmaceutical Technology Seminar, Singapore,
             December, 2007.

       15.   Novel In Vitro Dissolution Testing Methods for Inhalation Formulations, Dissolution
             Testing, Bioequivalence & Bioavailability Strategies Meeting, London, United
             Kingdom, June 2008.

       16.   Dissolution Testing ofInhalation Products’, Copley Scientific Ltd, London, United
             Kingdom, June 2008.

       17.   Modification of the USP Type II Dissolution Testing Apparatus for Powder
             Formulations, Novartis, Basel, Switzerland, July 2008.

       18.   The Use of Renewable Ingredients for Pharmaceutical Formulations, Tate & Lyle,
             Decatur, September 2008.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 26 of 28 PageID #: 10193
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 26


       19.   Improved Therapy by Direct Lung Targeting for the Treatment ofPulmonary
             Aspergillosis, Purdue University, September, 2008.

       20.   Attendee/Observer at the Aerosol Advisory Board Meeting, United States
             Pharmacopeia Headquarters, Rockville, MD, January, 2009.

       21    Formulation and Characterization ofProsolv® Fast Disintegrating Tablets, Prosolv®
             Advisory Board Meeting, San Juan, Puerto Rico, April, 2009.

       22.   Advances in the Development of Oral Controlled Release Pharmaceutical Forms
             and/or Site Specific Gastrointestinal Tract Delivery and Pulmonary Delivery
             Systems: An Introduction to Pulmonary Drug De#very, Santiago, Chile,
             October, 2009. Workshop Presenter.

       23.   Formulation and Characterization ofFast Disintegrating Tablets Containing
             Renewable Ingredients, 2nd Joint Symposium on the Future Prospects of
             Pharmaceutical Sciences, Hoshi University, Tokyo, Japan, October, 2009.

       24.   Dissolution Testing ofAerosol Powder Formulations, Novartis, Horsham, UK,
             December 2009.

       25.   An Introduction to Buccal Drug DeBvery, Advances in Pharmaceutical Technology
             and Pharmaceutical Engineering, Santiago, Chile, October, 2010.
             Workshop Presenter.

       26.   Fighting Dy~phagia with Orally Disintegrating Tablets, Functional Foods for Chronic
             Diseases: Science and Practice, Las Vegas, March, 2010.

       27.   Formulation ofRapidly Disintegrating Tablets to Combat Dysphagia, Prosolv®
             Advisory Board Meeting, Miami, FL, April, 2011.

       28.   Developing Pharmaceutical Products for Controlled Pulmonary DeBvery, Annual
             Meeting of the American Association of Pharmaceutical Scientists, Washington, DC,
             October, 2011. Workshop Moderator and Presenter.

       29.   Dissolution Testing to Meet Formulation Challenges, 39th International Symposium
             on Controlled Release of Bioactive Materials, Quebec City, Canada, July, 2012.
             Workshop Presenter and Panel Discussion Member.

       30.   A Prospective Dissolution Test Design: Controlling the Important Variables,
             Respiratory Drug Delivery 2012, Phoenix, AZ, 2012.
             Speaker and Panel Discussion Member.




                                                                                           DTX0866-0026
Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 27 of 28 PageID #: 10194
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 27

       31.    Setting Release Specifications for in vitro Testing of Controlled Release Dosage
              Forms: Dissolution Testing to meet Formulation Challenges, 39th International
              Symposium on Controlled Release of Bioactive Materials, Quebec City, Canada,
              July, 2012. Workshop Presenter and Panel Discussion Member.

       32.    An Introduction to Pulmonary Drug DeBvery, Advances in Pharmaceutical
              Technology and Pharmaceutical Engineering, Santiago, Chile,
              April, 2013. Visiting Professor and Workshop Presenter.

         33. Trans-MucosalBuccalDrugDefivery, New Mexico Society of Health-System
             Pharmacists (NMSHSP) Balloon Fiesta Symposium, Albuquerque, NM, October,
             2013.

         34. Inhaled Therapeutics for Lung Cancer, Drug Delivery to the Lungs Conference
             (DDL24), Edinburgh, UK, December, 2013.

         35. Development of a Single Capsule Multiple Dose Regimen, (New Mexico Pharmacist
             Association (NMPhA)Mid-Winter Meeting, January, 2014.

         36. Macromolecule Drug Defivery: Challenges and Triumphs, AAPS National
             Biotechnology Conference, San Diego, CA, May, 2014. Session Chair and
             Moderator.



  XVII. Intellectual Property

         1. Enhanced delivery of drug compositions to treat life threatening infections, Non-
            Provisional Patent Application (PCT/US2005/030543), filed: August 26, 2005.

         2.   Stabilized Hot Melt Extrusion Composition with Small Drug Particles, Non-
              Provisional Application (PCT/US2005/040535), filed: September 11, 2005.

         3.   Enhanced Delivery of Immunosuppressive Drug Compositions for Pulmonary
              Delivery, Non-Provisional Patent Application (PCT/US2008/050795), filed: October
              1, 2008.

         4. Immediate Release of Tacrolimus Composition for Increased Bioavailability,
            Provisional Patent Application (US60/912,733), abandoned: April, 2008.

         5.   Treatment of Pulmonary Fungal Infection with Voriconazole via Inhalation, Non-
              Provisional Patent Application (PCT/US2009/043027), filed: June 5, 2009.

         6. A Multiple Dosing Regimen Oral Drug Delivery Platform, Non-Provisional Patent
            Application (PCT/US2012/038690), filed: May 18, 2012.




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Case 1:13-cv-01674-RGA Document 348-8 Filed 10/23/15 Page 28 of 28 PageID #: 10195
  Curriculum Vitae
  Jason T. McConville, Ph.D.
  Page 28

         7. Inhalable Pharmaceutical Compositions: Provisional Application (WO
            US2012/042999), filed: June 18, 2012.

         8. Polymer Strip for Treatment of Oral Thermal Burns: Provisional Application
            (61/717,082), abandoned: May, 2012.

         9. Medicated Polymer Film Strip: Provisional Application (61/719,922), abandoned:
             May, 2012.
         10. Mucoadhesive Films for Local and/or Systemic Delivery: Non-Provisional Patent
             Application (PCT/US 13/32490), filed: March 15, 2013.

         11. Wireless Medication Monitor: Non-Provisional Application (PCT/US14/555,086),
             filed: November 26, 2014.




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